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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

REBECCA KELLY SLAUGHTER, in her official
and personal capacities, and ALVARO M.
BEDOYA, in his official and personal capacities,
                                                   Case No. 25 Civ. 909
                             Plaintiffs,
                                                   Judge Loren L. AliKhan
              v.

DONALD J. TRUMP, in his official capacity as
President of the United States, ANDREW N.
FERGUSON, in his official capacity as Chair of
the Federal Trade Commission, MELISSA
HOLYOAK, in her official capacity as
Commissioner of the Federal Trade Commission,
and DAVID B. ROBBINS, in his official capacity
as the Executive Director of the Federal Trade
Commission,

                            Defendants.

              MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
               MOTION FOR EXPEDITED SUMMARY JUDGMENT
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                                 PRELIMINARY STATEMENT

          Plaintiffs Rebecca Kelly Slaughter and Alvaro M. Bedoya are Commissioners of the

Federal Trade Commission. President Trump’s recent attempt to remove them from office

without cause violates a federal statute that has stood for 111 years and defies ninety years of

Supreme Court precedent. Plaintiffs respectfully request that this Court act expeditiously to

declare the President’s action unlawful and enjoin his subordinates from carrying out his illegal

order.

          Since it was passed in 1914, the FTC Act has provided that Commissioners cannot be

removed except for “inefficiency, neglect of duty, or malfeasance in office.” 15 U.S.C. § 41.

Ninety years ago, in Humphrey’s Executor v. United States, a unanimous Supreme Court

confirmed that this statute is constitutional and that no FTC Commissioner can be removed

“except for one or more of the causes named in the applicable statute.” 295 U.S. 602, 632

(1935). This remains the law today: the Supreme Court has repeatedly refused to overrule or

revisit Humphrey’s Executor, and lower courts—including the D.C. Circuit—have uniformly

held that any challenge to the FTC Act’s removal protections remains squarely foreclosed by that

decision.

          Nevertheless, on March 18, 2025, Plaintiffs received identical emails containing a

message from President Trump: “I am writing to inform you that you have been removed from

the Federal Trade Commission, effective immediately.” (Declaration of Rebecca Kelly

Slaughter (“Slaughter Decl.”), Ex. A; see Plaintiffs’ Statement of Material Facts Not in Dispute

(“SMF”) ¶ 16.) The President did not claim that Plaintiffs were inefficient, neglectful of their

duties, or engaged in malfeasance, but instead stated simply that their “continued service on the

FTC is inconsistent with my Administration’s priorities.” (Id.) The President claimed that this

illegal action was taken “pursuant to my authority under Article II of the Constitution” (id.), but

the core holding of Humphrey’s Executor is that Article II does not grant Presidents the right to

ignore the statutory removal protections granted to FTC Commissioners.

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        There are no factual disputes here, the law is well settled, and Plaintiffs are entitled to

immediate summary judgment. Both the FTC Act and Supreme Court precedent compel the

conclusion that the President’s attempt to terminate Plaintiffs is unlawful. The justifications

offered in the President’s March 18 message are unconvincing and, in any event, cannot carry

the day in this Court, which is duty-bound to apply the binding precedent that has protected FTC

Commissioners for nearly a century.

        Accordingly, and for the reasons stated more fully below, Plaintiffs ask this Court to

grant them summary judgment on an expedited basis, declare that the President’s attempt to

remove them from office is unlawful, and enjoin FTC Chair Ferguson, Commissioner Holyoak,

and Executive Director Robbins from implementing the President’s improper order.

                                          BACKGROUND

Statutory Background

        A.       The FTC

        In 1914, Congress passed, and President Wilson signed, the FTC Act, Pub. L. No. 63-

203, ch. 11, 38 Stat. 717-724 (1914) (current version 15 U.S.C. §§ 41–58), which created the

Federal Trade Commission and directed it to prevent “unfair methods of competition in

commerce,” id.§ 5, 38 Stat. 717, 719. The FTC Act was passed to “supplement” the Sherman

Antitrust Act of 1890, FTC v. Beech-Nut Packing Co., 257 U.S. 441, 453 (1922), which had

outlawed “every contract, combination . . . , or conspiracy . . . in restraint of trade,” and any

attempts to “monopolize” or “combine or conspire . . . to monopolize,” 15 U.S.C. §§ 1, 2. At the

same time as the FTC Act, Congress also passed the Clayton Act and empowered the

Commission to enforce several of its provisions. Act of Oct. 15, 1914, Pub. L. No. 63-212, ch.

323, § 11, 38 Stat. 730, 734. These included prohibitions on price discrimination, exclusive

dealing and tying arrangements, anticompetitive mergers, and interlocking directorates. Id.; see

id. §§ 2, 3, 7, 8.

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       From the beginning, Congress gave the FTC a variety of powers to achieve these statutes’

ends. Specifically, Congress empowered the FTC to issue “complaint[s] stating . . . charges” and

giving notice of a hearing, Pub. L. No. 63-203, ch. 311, § 5, 38 Stat. 717, 719; to hold hearings

with written records, id.; and, after such hearings, to issue reports with cease-and-desist orders,

id. § 5, 38 Stat. 719-20, which could be enforced in the federal Courts of Appeals, id. § 5, 38

Stat. 720. The Commission’s findings of fact, if supported by testimony, would be deemed

conclusive in that enforcement proceeding, id. § 5, 38 Stat. 721, giving the FTC’s findings

significant force. Congress also gave the FTC rulemaking authority, id. § 6(g), 38 Stat. 722, and

authorized the Commission to perform investigations into business practices and issue

subpoenas, id. § 9, 38 Stat. 722; see also id. § 6(b), 38 Stat. 721. The Commission was also

empowered to assist courts in drafting decrees for antitrust cases, id. § 7, 38 Stat. 722, and to

help the Attorney General assure compliance with antitrust orders by performing investigations

and reporting findings, id. § 6(c), 38 Stat 721.

       Congress saw the Commission’s structure as a key feature and asset to its mission. Then,

as now, the FTC Act provided that the FTC “shall be composed of five Commissioners, who

shall be appointed by the President, by and with the advice and consent of the Senate . . . for

terms of seven years” and that Commissioners are removable by the President only for

“inefficiency, neglect of duty, or malfeasance in office.” 15 U.S.C. § 41. As the Senate Report

for the FTC Act further explained, “it is [also] essential that [the Commission] should not be

open to the suspicion of partisan direction,” and thus no more than three members of the

Commission may be of the same party, id., a restriction that remains today, 15 U.S.C. § 41.

These arrangements were intended to give the Commission “greater prestige and independence,”




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with the hope that “its decisions, coming from a board of several persons, will be more readily

accepted as impartial and well considered.” S. Rep. No. 63-597 at 11 (1914).

       The FTC Act’s core provisions regarding the appointment and removal of

Commissioners have remained intact since 1914, with one notable exception, which substantially

increased the President’s control over the Commission’s leadership. In the Reorganization Act

of 1949, Congress created a four-year window during which the President could create plans to

restructure federal agencies that would take effect unless a majority of one house of Congress

disapproved within 60 days. See Pub. L. No. 109, 63 Stat. 203 (codified then at 5 U.S.C. § 109,

since amended). The primary purpose of this statute was “to promote the better execution of the

laws” and “the more effective management of the executive branch of the Government and of its

agencies.” Id. 63 Stat. at 203. Pursuant to this legislation, President Harry Truman transmitted

to Congress “Reorganization Plan No. 8 of 1950,” which, inter alia, (1) gave the FTC Chair

administrative authority over the Commission, and (2) empowered the President to select the

Chair from among the Commission’s members. Reorganization Plan No. 8 of 1950, 15 Fed.

Reg. 3175 (May 24, 1950). Neither house of Congress vetoed the proposal, and it became law.

       As a result of this 1950 restructuring, today, the President’s chosen Chair presides at

Commission meetings and hearings, controls its expenditures, and is responsible for all personnel

decisions. See 15 U.S.C. § 41; 16 C.F.R. § 0.8. To ensure alignment with his agenda, the

President is free at any time to change his designation of Chair to any of the other sitting

Commissioners.

       B.     Humphrey’s Executor

       In 1925, William Humphrey was nominated to the Commission by President Coolidge

and confirmed by the Senate, and, in 1931, President Herbert Hoover re-appointed him for a

second seven-year term, expiring in 1938. See Humphrey’s Executor, 295 U.S. at 612.

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        On July 25, 1933, newly elected President Franklin D. Roosevelt asked Humphrey for his

resignation, explaining that “the aims and purposes of the Administration with respect to the

work of the Commission [could] be carried out most effectively with personnel of my own

selection.” Id. at 618 (internal quotation marks omitted). Humphrey replied, saying he would

consult his friends and think about it. Id. at 618–19. On August 31, 1933, President Roosevelt

wrote Humphrey again to ask for his resignation, reiterating that “I do not feel that your mind

and my mind go along together on either the policies or the administering of the [FTC],” but

Humphrey declined to resign. Id. at 619. On October 7, 1933, President Roosevelt wrote

Humphrey a final letter, stating: “Effective as of this date you are hereby removed from the

office of Commissioner of the Federal Trade Commission.” Id.

        Humphrey “never acquiesced in this action,” but died several months later. Id. at 618,

619. His executor ultimately challenged his termination, presenting to the Supreme Court the

“question[] . . . of the power of the President to make the removal.” Id. at 612. In the resulting

decision, a unanimous Supreme Court held that President Roosevelt’s attempted removal was

unlawful, and affirmed that, “as to officers of the kind here under consideration,” i.e.,

Commissioners of the FTC, “we hold that no removal can be made during the prescribed term

for which the officer is appointed, except for one or more of the causes named in the applicable

statute.” Id. at 632.

        Despite repeated challenges, Humphrey’s Executor has stood for ninety years and

remains binding law. See infra Part II.

Factual Background

        In 2018, the Senate had the opportunity to consider a full slate of five FTC Commissioner

nominations from President Trump, including three Republicans (Joseph Simons, Noah Phillips,

and Christine Wilson) and two Democrats (Rohit Chopra and Plaintiff Rebecca Kelly Slaughter).

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(SMF ¶ 1.) The U.S. Senate confirmed Commissioner Slaughter on April 26, 2018, and she was

sworn in on May 2, 2018. (SMF ¶ 2.) President Trump exercised his authority to designate

Simons as the Chair, replacing Acting Chair Maureen K. Ohlhausen, whom President Trump had

designated as Acting Chair upon taking office in January 2017. (SMF ¶ 3.)

       When President Biden took office in January 2021, he named Commissioner Slaughter as

the Acting Chair of the FTC, a role she held until Lina Khan was confirmed by the Senate and

designated as the Chair by President Biden several months later. (SMF ¶ 4.) On February 13,

2023, Commissioner Slaughter was renominated by President Biden to serve a second term on

the Commission. (SMF ¶ 5.) The Senate confirmed her again on March 7, 2024, approving

another bipartisan slate that included two Republican Commissioners, Defendants Andrew

Ferguson and Melissa Holyoak. (SMF ¶ 6.) Commissioner Slaughter’s current term expires on

September 25, 2029. (SMF ¶ 7.)

       On September 12, 2021, President Biden announced his nomination of Plaintiff Alvaro

M. Bedoya, a Democrat, to serve as an FTC Commissioner. (SMF ¶ 8.) He was confirmed by

the Senate on May 11, 2022. (SMF ¶ 9.) He was sworn in on May 16, 2022, to a term that

expires on September 25, 2026. (SMF ¶ 10.)

       During the tenure of Commissioners Slaughter and Bedoya, the FTC took significant

actions in service of the Commission’s statutory mission. For example:

           •   In May 2021, the FTC issued a report to Congress detailing how repair

      restrictions imposed by manufacturers hurt small businesses and consumers. (SMF ¶ 17a.)

           •   On May 31, 2023, the FTC charged Amazon with violating the Children’s Online

      Privacy Protection Act Rule by keeping Alexa voice recordings in perpetuity and ignoring

      parents’ deletion requests, ordering Amazon to delete the children’s data and implement



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      new privacy safeguards. (SMF ¶ 17b.)

          •   On July 9, 2024, the FTC issued a staff report detailing how the six largest

      pharmacy benefit managers (PBMs) artificially boosted their profits by systematically

      steering customers to higher priced insulin products. (SMF ¶ 17c.)

          •   On September 19, 2024, the FTC issued a report detailing how some of the largest

      social media and streaming companies—including Amazon.com, Inc.; ByteDance Ltd.

      (which owns TikTok); Discord Inc.; Meta Platforms, Inc.; YouTube LLC; and X Corp.—

      have surveilled consumers, monetizing the personal information of their users, especially

      children and teenagers. (SMF ¶ 17d.)

          •   On January 14, 2025, the FTC issued another staff report detailing how the three

      major PBMs charge markups for medications treating cancer, HIV, and other critical

      diseases. (SMF ¶ 17e.)

          •   On April 14, 2025, the FTC is scheduled to go to trial against Meta Platforms,

      Inc., in a suit that alleges Meta accumulated and maintained illegal monopoly power over

      social networking through its acquisitions of Instagram and WhatsApp. (SMF ¶ 17f.)

       On July 11, 2023, President Biden nominated Defendant Andrew Ferguson, a

Republican, to serve as FTC Commissioner. (SMF ¶ 12.) Ferguson testified in connection with

his nomination before the Senate Committee on Commerce, Science, and Transportation. When

asked about Humphrey’s Executor and the independence of the FTC, he explained:

       If confirmed as an FTC Commissioner, I will abide by binding Supreme Court
       precedent. The Supreme Court has held that the FTC’s removal provisions are
       consistent with Article II of the Constitution. Although subsequent decisions
       have drawn Humphrey’s Executor into question, the Supreme Court has instructed
       time and again that it is [the Supreme] Court’s prerogative alone to overrule one
       of its precedents. The Supreme Court’s decisions remain binding precedent until
       [it] see[s] fit to reconsider them, regardless of whether subsequent cases have
       raised doubts about their continuing validity.


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(SMF ¶ 13 (citations and quotations omitted, alterations and emphasis original).) Immediately

following President Trump’s inauguration on January 20, 2025, he designated Commissioner

Ferguson as Chair of the FTC. (SMF ¶ 14.)

       On March 17, 2025, Defendant Ferguson appeared on the Bloomberg.com podcast Odd

Lots. He commented on the “benefits in certain circumstances to having multi-member agencies

with people from both parties” and continued:

       I mean, look, if you have an agency that is exceeding the law, abusing the
       companies that it purports to regulate, it’s helpful for markets, for Courts, for
       litigants, for government transparency, to have people on the other party pointing
       this out and saying it in dissents. You know, I wrote 400 plus pages of dissents
       during my time as a minority commissioner, I think that that adds value.

(SMF ¶ 15.)

       The following day, on March 18, 2025, Commissioners Slaughter and Bedoya each

received identical emails from Deputy Director of Presidential Personnel Trent Morse,

conveying a message from President Trump: “I am writing to inform you that you have been

removed from the Federal Trade Commission, effective immediately.” (SMF ¶ 16; Slaughter

Decl. Ex. A.)

       Despite the FTC Act’s clear requirement that Commissioners can be removed only for

“inefficiency, neglect of duty, or malfeasance in office,” 15 U.S.C. § 41, President Trump’s

message did not identify any such cause for their purported termination. (Slaughter Decl. Ex.

A.) Instead, tracking President Roosevelt’s message to William Humphrey in 1933, President

Trump’s message asserted, without explanation: “Your continued service on the FTC is

inconsistent with my Administration’s priorities. Accordingly, I am removing you from office

pursuant to my authority under Article II of the Constitution.” (Id.) Although President Trump’s

message did not explain why Commissioners Slaughter and Bedoya’s service is “inconsistent”



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with his priorities, the email sought to excuse his disregard of governing law by implying,

incorrectly, that the Supreme Court has abandoned Humphrey’s Executor. See infra Part II.

       Shortly after the March 18 email that purported to fire them, Commissioners Slaughter

and Bedoya were cut off from their email access and asked to return their technology equipment.

(SMF ¶ 18.) They have been denied access to their files; their staff members have all been

placed on administrative leave or reassigned to other posts in the agency; and they are now listed

as “Former Commissioners” on the FTC website, indicating their “time in office” ended on

March 18, 2025. (SMF ¶ 19.) As a result of these actions, Plaintiffs Slaughter and Bedoya have

been unable to fulfill their duties as duly appointed FTC Commissioners. (SMF ¶ 20.) These

actions can have been taken only at the direction of Defendants Ferguson and Robbins. (SMF

¶ 21.) Defendant Holyoak has also acquiesced in these actions. (Id.)

       Since the purported firing of Commissioners Slaughter and Bedoya, only two FTC

Commissioners—Republican Commissioners Ferguson and Holyoak—have been able to

perform their duties. (SMF ¶ 23.) President Trump recently nominated a third Republican, Mark

Meador, to serve as Commissioner. (SMF ¶ 24.) Mr. Meador was confirmed by the Senate on

April 10, 2025. (Id.)

Procedural History

       Plaintiffs filed this action on March 27, 2025, seeking declaratory, injunctive, and related

relief. (See generally Dkt. 1, Compl.) Plaintiffs now file the instant motion, seeking expedited

summary judgment and the entry of a permanent injunction.

                                           ARGUMENT

       There are no factual disputes here and the law could not be more clear. The FTC Act and

Supreme Court precedent compel the conclusion that the President’s attempt to terminate

Plaintiffs is unlawful. See infra Part II. To the extent the President attempted to justify his

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unlawful act in his message to Plaintiffs, he misstated the law and ignored centuries of U.S.

history. And, in any event, his justifications cannot carry the day in this Court, which is duty-

bound to apply the binding precedent that has protected FTC Commissioners for nearly a

century. See infra Part III. Accordingly, Plaintiffs respectfully request that this Court grant them

summary judgment; declare that the President’s attempt to remove them from office is unlawful;

and enjoin FTC Chair Ferguson, Commissioner Holyoak, and Executive Director Robbins from

implementing the President’s illegal order or otherwise preventing Plaintiffs from performing

their statutory duties. See infra Part IV.

  I.    Legal Standard

        Summary judgment should be granted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). A fact is only “‘material’ if a dispute over it might affect the outcome of a suit

under governing law; factual disputes that are ‘irrelevant or unnecessary’ do not affect the

summary judgment determination.” Holcomb v. Powell, 433 F.3d 889, 895 (D.C. Cir. 2006)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). The dispute is “genuine”

only if “‘the evidence is such that a reasonable jury could return a verdict for the non-moving

party.’” Id. (quoting Anderson, 477 U.S. at 248).

 II.    Humphrey’s Executor Controls and Requires Judgment for Plaintiffs

        There are no material facts in dispute here, and it is difficult to imagine a more obvious

violation of governing law than the President’s attempt to remove, without cause, Plaintiffs as

Commissioners of the FTC. Plaintiffs are entitled to summary judgment and, as discussed

further below, to declaratory and injunctive relief confirming their continued status as FTC

Commissioners, see infra Part IV.

        The FTC Act provides that the FTC’s five Commissioners will serve staggered seven-

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year terms, but that “[a]ny Commissioner may be removed by the President for inefficiency,

neglect of duty, or malfeasance in office.” 15 U.S.C. § 41. It is undisputed that Commissioners

Slaughter and Bedoya were duly nominated and confirmed to serve terms as Commissioners of

the FTC, and that their terms do not expire until September 25, 2029, and September 25, 2026,

respectively. (SMF ¶¶ 1–10.) And it is undisputed that, on March 18, 2025, President Trump

purported to “remove[]” Plaintiffs “from the Federal Trade Commission, effective immediately”

in a message that cited none of the causes listed in 15 U.S.C. § 41. (SMF ¶¶ 16, 25; Slaughter

Decl. Ex. A.)

       Thus, that the President failed to comply with the FTC Act is clear. That he was required

to comply is equally clear. In 1933, President Roosevelt attempted precisely what President

Trump attempted here, namely, to remove an FTC Commissioner because his continued service

was in tension with the unspecified “aims and purposes of the [then-present] Administration.”

Humphrey’s Executor, 295 U.S. at 612; cf. SMF ¶ 16 & Slaughter Decl. Ex. A (“Your continued

service on the FTC is inconsistent with my Administration’s priorities.”). And, just as President

Roosevelt asserted that the FTC Act’s removal protections are “an unconstitutional interference

with the executive power of the President,” placing “chief reliance [on] Myers v. United States,”

Humphrey’s Executor, 295 U.S. at 626, President Trump now likewise claims the power to

“remov[e]” Plaintiffs “from office pursuant to [his] authority under Article II of the

Constitution,” leading with a citation to Myers, see Slaughter Decl. Ex. A. A unanimous

Supreme Court rejected President Roosevelt’s removal attempt and held that “no removal” of an

FTC Commissioner “can be made during the prescribed term for which the officer is appointed,

except for one or more of the causes named in the applicable statute.” Humphrey’s Executor,

295 U.S. at 632.



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       This remains the law today. Over the ninety years since the Supreme Court decided

Humphrey’s Executor, the Supreme Court has repeatedly adhered to it and expressly declined all

invitations to revisit it. See Seila Law LLC v. CFPB, 591 U.S. 197, 204 (2020) (noting that, “[i]n

Humphrey’s Executor . . . we held that Congress could create expert agencies led by a group of

principal officers removable by the President only for good cause,” and that “we . . . do not

revisit our prior decisions allowing certain limitations on the President’s removal power”); Free

Enter. Fund v. PCAOB, 561 U.S. 477, 483 (2010) (“This Court has determined, however, that

[the President’s removal] authority is not without limit. In Humphrey’s Executor v. United

States, . . . we held that Congress can, under certain circumstances, create independent agencies

run by principal officers appointed by the President, whom the President may not remove at will

but only for good cause. . . . The parties do not ask us to reexamine any of these precedents, and

we do not do so.”); see also Collins v. Yellen, 594 U.S. 220, 250–51 (2021) (recognizing that

Seila Law did “not revisit our prior decisions” limiting President’s removal powers, but declining

to extend those decisions to “novel context”); Morrison v. Olson, 487 U.S. 654, 687–93 (1988)

(upholding restrictions on removal of independent counsel and discussing Humphrey’s

Executor); id. at 724–25 (Scalia, J., dissenting) (“Since our 1935 decision in Humphrey’s

Executor . . . removal restrictions have been generally regarded as lawful for so-called

‘independent regulatory agencies,’ such as the Federal Trade Commission . . . .” (citing 15

U.S.C. § 41)); Wiener v. United States, 357 U.S. 349, 356 (1958) (rejecting President Truman’s

attempt to terminate member of War Claims Commission under “[t]he philosophy of

Humphrey’s Executor, in its explicit language as well as its implications”).

       Recognizing this unbroken line of authority, Circuit and District Courts have uniformly

held that any challenge to the FTC’s removal protections remains squarely foreclosed by



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Humphrey’s Executor. See, e.g., Meta Platforms, Inc. v. FTC, No. 24-5054, 2024 WL 1549732,

at *2 (D.C. Cir. Mar. 29, 2024) (per curiam) (Millett, Pillard, and Wilkins, J.J.) (“Meta claims

that the Federal Trade Commission Act likely violates Article II by limiting the President’s

power to remove the Commissioners. The Supreme Court already answered this question

adversely to Meta. See Humphrey’s Executor v. United States, 295 U.S. 602, 629–32 (1935). . . .

The Supreme Court has not disturbed that precedent.”); Illumina, Inc. v. FTC, 88 F.4th 1036,

1047 (5th Cir. 2023) (holding that under Humphrey’s Executor, “FTC’s enabling act did not run

afoul of Article II” and that Supreme Court “has expressly declined to overrule” Humphrey’s

Executor); FTC v. Precision Patient Outcomes, Inc., No. 22 Civ. 7307, 2023 WL 3242835, at *1

(N.D. Cal. May 3, 2023) (holding that defendant’s argument that FTC removal protections

preclude FTC from constitutionally bringing court action for civil penalties is “clearly foreclosed

by Supreme Court precedent,” citing Humphrey’s Executor).

       Likewise, contemporary courts uniformly apply Humphrey’s Executor to rebuff

challenges to removal protections concerning traditional multimember agencies—including an

en banc panel of the D.C. Circuit just this week. See Harris v. Bessent, No. 25-5037, 2025 WL

1021435, at *1 (D.C. Cir. Apr. 7, 2025) (noting that “the Supreme Court has repeatedly stated

that it was not overturning the precedent established in Humphrey’s Executor and Wiener for

multimember adjudicatory bodies” and denying stay of judgment in favor of wrongfully

terminated members of the NLRB and MSPB); see also Consumers’ Research v. CPSC, 91 F.4th

342, 346, 352 (5th Cir. 2024) (finding that CPSC’s structure is “mirror image of the [FTC]” and

thus “[t]he holding from Humphrey’s controls”), rehearing en banc denied by 98 F.4th 646, 648

(5th Cir. 2024) (observing the Supreme Court “has twice declined to overrule Humphrey’s

Executor, “going out of its way to declare—recently and conspicuously—that it would ‘not



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revisit’ the decision but leave it ‘in place.’”) (Willet, J. concurring); Leachco, Inc. v. CPSC, 103

F.4th 748 (10th Cir. 2024) (“Humphrey’s Executor remains binding precedent and controls in

cases challenging removal protections”), cert. denied, No. 24-156, 2025 WL 76435 (U.S. Jan.

13, 2025).

        In short, Humphrey’s Executor remains good law and controls here. It follows that the

result must be the same for President Trump as it was for President Roosevelt: this Court should

hold that his attempt to terminate Plaintiffs as FTC Commissioners without cause is unlawful.

III.    The President Fails to Justify His Attempt to Terminate Plaintiffs

        In truth, nothing more is required to demonstrate that this Court should grant Plaintiffs

summary judgment. The governing statute unambiguously provides that a Commissioner can be

terminated only on certain specified grounds, see 15 U.S.C. § 41; binding Supreme Court

precedent confirms that the President cannot terminate FTC Commissioners “except for one or

more of the causes named in the applicable statute,” Humphrey’s Executor, 295 U.S. at 632; see

supra Part II; and yet the President has attempted to terminate Plaintiffs without cause in the

midst of their unexpired terms as FTC Commissioners (see SMF ¶¶ 16, 25). However, to the

extent the President attempted to justify his unlawful action (see Slaughter Decl. Ex. A), the

President’s brief message to Plaintiffs does not and cannot support a different result here.

        A.     The Supreme Court Has Not Implicitly Overruled Humphrey’s Executor

        The inherent premise of the President’s message is that he can simply ignore Humphrey’s

Executor; that the Supreme Court’s recent decisions have either silently overturned it or so

thoroughly undermined it that it no longer protects even those serving as FTC Commissioners—

the subject of that seminal case. However, to the extent Defendants ask this Court to hold that

the Supreme Court has sub silentio abandoned Humprey’s Executor, this Court cannot turn a

blind eye to the Court’s repeated and express declarations to the contrary. See supra Part II; see

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also infra Section III.D.

       The only post-Humphrey’s Executor case cited in the President’s message is Seila Law,

(see Slaughter Decl. Ex. A), but it does not support him here. Just the opposite. Not only did

Seila Law expressly declare that Humphrey’s Executor remains good law, see 591 U.S. at 204,

but the Court also reached its holding by repeatedly contrasting the CFPB’s structure with the

FTC’s structure, id. at 218–19; see also, e.g., Leachco, 103 F.4th at 761–62 (rejecting Seila Law

challenge to CPSC because it is “structured similarly to the FTC,” unlike the CFPB that was the

subject of Seila Law). Specifically, the Seila Law court held that the “CFPB’s leadership by a

single independent Director violates the separation of powers,” 591 U.S. at 232, largely because

it was unlike the FTC, “a traditional independent agenc[y] headed by [a] multimember . . .

commission[],” comprised of a “body of experts” that is “non-partisan” and who serve

“staggered terms” that allow Commissioners to “accrue[] significant expertise,” id. at 207, 218.

       The Court also emphasized: “Because the CFPB is headed by a single Director with a

five-year term, some Presidents may not have any opportunity to shape its leadership and thereby

influence its activities.” Id. at 225. Nor would any “President . . . have the opportunity to

appoint . . . a chair or fellow members of a Commission or Board . . . who can serve as a check

on the Director’s authority and help bring the agency in line with the President’s preferred

policies.” Id. Again, the contrasts with the FTC are stark: the FTC’s staggered terms ensure that

Presidents can regularly appoint Commissioners, see 15 U.S.C. § 41, and the President

designates the FTC Chair, id., who serves as the “executive and administrative head of the

agency,” controls the agency’s expenditures, and selects the heads of its major policy-making

divisions, 16 C.F.R. § 0.8. Indeed, President Trump was able to appoint all five FTC

Commissioners in his first term and, in just the first three months of his second term, has



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elevated Andrew Ferguson to the Chair of the FTC and nominated yet another Commissioner,

whom the Senate has already confirmed. (See SMF ¶¶ 1, 2, 24.)

       In addition, Seila Law emphasized that the CFPB was not funded through the regular

appropriations process, which gives “Presidents . . . [the] budgetary tools to influence the

policies of independent agencies.” 591 U.S. at 266 (citations and quotations omitted). Again,

the FTC is a counterexample: the FTC’s budget requests are controlled by the President directly

via the Office of Management and Budget (OMB). See 31 U.S.C. §§ 1105(a)(21)(B), 1108. And

while Congress makes the final appropriation, the budgetary process has historically been a

significant means of Presidential influence over agency policies and priorities.1

       In sum, while the Supreme Court has in recent years recognized constitutional defects in

removal provisions for “novel” single-director-led agencies, see Seila Law, 591 U.S. at 204;

Collins, 594 U.S.at 251, or in the “the unusual situation . . . of two layers of for-cause” removal

protection, Free Enter. Fund, 561 U.S. at 501, the Court has never struck down such protections

for a “traditional independent agency headed by a multimember board or commission” like the

FTC or the Federal Reserve, Seila Law, 591 U.S. at 207. Even if Seila Law “declined to extend

Congress’s authority to limit the President’s removal power to a new situation,” id. at 238

(emphasis added), it most certainly did not eliminate that authority, as the President’s message

implies.



1 See, e.g., Kirti Datla & Richard L. Revesz, Deconstructing Independent Agencies (and

Executive Agencies), 98 Cornell L. Rev. 769, 806 (May 2013) (“[T]he relationship between
independence from the President and OMB budget control is clear: ‘[I]t cannot be denied that
there is a direct relation between budget control and policymaking.’” (quoting Morton
Rosenberg, Presidential Control of Agency Rulemaking: An Analysis of Constitutional Issues
That May Be Raised by Executive Order 12,291, 23 Ariz. L. Rev. 1199, 1219 (1981)); see also
id. (citing 115 Cong. Rec. 1836 (1969) (statement of FTC Commissioner Everette MacIntyre)
(“What was intended as a purely housekeeping measure not infrequently has become an
instrument of control over policy.”)).

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        B.      The FTC Remains Protected by Humphrey’s Executor

        The President’s message next asserts that Humphrey’s Executor “appears to have

misapprehended the powers” of the FTC, and goes on to list various regulatory actions that can

be taken by “the FTC today.” (Slaughter Decl. Ex. A.) Again, however, these assertions cannot

justify the President’s decision to disregard the FTC Act’s removal protections.

        To begin, the Court acknowledged as far back as Morrison that the “powers of the FTC at

the time of Humphrey’s Executor would at the present time be considered ‘executive,’ at least to

some degree,” 487 U.S. at 686–91, 689 n.28, a notion that Seila Law echoed, see 591 U.S. 197 at

216 n.2; id. at 286 n.10 (Kagan, J., concurring in part). Yet both decisions stood by Humphrey’s

Executor. See supra Part II. In fact, despite finding that the CFPB was “vested with significant

executive power,” 591 U.S. at 220, seven Justices on the Seila Law Court concurred that

Congress could “pursu[e] alternative responses to” any constitutional defect, “for example, [by]

converting the CFPB into a multimember agency” like the FTC, id. at 237; see id. at 298 (Kagan,

J., concurring in part).2

        Moreover, while the President asserts that the FTC now “exercises substantial executive

power,” he goes on to cite powers the FTC has had from its founding—long before Humphrey’s

Executor. (Slaughter Decl. Ex. A.) From its inception, the FTC could “issue subpoenas,” see

Pub. L. No. 63-203, ch. 311, § 6, 38 Stat. 717, 722 (codified today at 15 U.S.C. § 46), perform

“administrative adjudications,” see id. § 5, 38 Stat. 717, 719 (codified today at 15 U.S.C. § 45),




2 Likewise, in Free Enterprise Fund, the Court left in place the Securities and Exchange

Commission’s own single-layer removal protections—“[SEC] Commissioners cannot themselves
be removed by the President except under the Humphrey’s Executor standard of ‘inefficiency,
neglect of duty, or malfeasance in office’”—noting approvingly that the President “could then
hold the Commission to account for its supervision of the Board, to the same extent that he may
hold the Commission to account for everything else it does.” 561 U.S. at 495–96.


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and “promulgate binding rules,” see id. § 6, 38 Stat. 717, 722; Nat’l Petroleum Refiners Ass'n v.

FTC, 482 F.2d 672, 693–94 (D.C. Cir. 1973), cert. denied, 415 U.S. 951 (1974). Likewise, as

courts recognized decades ago, the FTC’s current power to “impose injunctions on private

parties” is simply an outgrowth of its original power to issue cease and desist orders. See FTC v.

Am. Nat’l Cellular, Inc., 810 F.2d 1511, 1514 (9th Cir. 1987) (“We conclude that the FTC’s

current power to seek injunctive relief pursuant to section 13(b) does not so materially differ

from the power to seek cease and desist orders as to render Humphrey's Executor inapposite.”)

Finally, while the President cites the FTC’s mandate to enforce prohibitions on “unfair methods

of competition” and enforce “portions of the Clayton Act” (Slaughter Decl. Ex. A), those

mandates were at the heart of the original FTC Act, Nat’l Petroleum Refiners Ass’n, 482 F.2d at

702 n.10 (explaining Clayton Act was passed “a few weeks after the Trade Commission Act”

and “gave the FTC the power to enforce its substantive provisions”). 3

       C.      “History” and “ Our Constitutional Structure” Support the FTC Act’s
               Removal Protections

       The President’s termination letter concludes with the assertion that “[a]n independent

agency of this kind,” i.e., the FTC, has “‘no basis in history and no place in our constitutional

structure.’” (Slaughter Decl. Ex. A (quoting Seila Law, 591 U.S. at 220).) This is flatly false.

       First, and most glaringly, far from a criticism of agencies like the FTC, the passage

quoted from Seila Law is a criticism of the CFPB for not being more like the FTC. As noted

above, see supra Section III.B, the Court was highly skeptical of the CFPB’s “single-Director

structure” specifically because it was “an innovation with no foothold in history or tradition,”


3
 The FTC’s further mandate to prevent “deceptive acts or practices in or affecting commerce”
was added shortly after Humphrey’s Executor, Pub. L. No. 75-447, 52 Stat. 111, 111 (1938), but
decades before the Supreme Court repeatedly reaffirmed Humphrey’s Executor’s validity. See
supra Part I.


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591 U.S. at 222, in direct contrast to the FTC and similarly structured agencies, which the Court

referred to as “traditional independent agenc[ies] headed by a multimember board or

commission,” id. at 207 (emphasis added). Thus, rather than casting doubt on the

constitutionality of the FTC’s structure, Seila Law reaffirms it.

          Second, the contention that the FTC Act’s removal protection for Commissioners has “no

basis in history” is absurd. The FTC was created, and granted the core powers it still exercises

today, 111 years ago. See Pub. L. No. 63-203, ch. 311, 38 Stat. 717, 719 (1914). The

prohibition on removing Commissioners without cause, see id. § 1, 38 Stat. 717 (codified at 15

U.S.C. § 41), traces its direct lineage even further back, to 1887, when Congress established the

Interstate Commerce Commission (ICC) to regulate the railroads and granted its commissioners

the very same protection. See An Act to Regulate Commerce, ch. 104, § 11, 24 Stat. 379, 383

(1887).

          More broadly, “the concept of [agency] independence did not originate with the ICC,”

but runs right back to the Founding. Marshall J. Breger & Gary J. Edles, Established by

Practice: The Theory and Operation of Independent Federal Agencies, 52 Admin. L. Rev. 1111,

1117 (2000). For example, “[w]hen Congress established the Department of the Treasury in

1789, the department possessed indicia of independence from the executive . . . and Congress

restricted the President’s power to remove the comptroller of the department.” Id.; see id. 1117–

19; Jerry L. Mashaw, Recovering American Administrative Law: Federalist Foundations, 1787–

1801, 115 Yale L.J. 1256, 1291 (2006) (describing various early “commissions and boards” as

“‘independent commissions’ in an even stronger sense than those we recognize today”);

Christine Kexel Chabot, Is the Federal Reserve Constitutional? An Originalist Argument for

Independent Agencies, 96 Notre Dame L. Rev. 1 (2020) (reviewing “independent” officers and



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commissions created by the First Congress, such as the Sinking Fund Commission). And, of

course, the basic notion that certain officials, once “appointed to an office” for a statutorily

defined term, are “not removable[] at the will of the executive,” is front and center in the

decision on which our system of judicial review rests: Marbury v. Madison, 5 U.S. 137, 162–73

(1803). A more deeply rooted “history” is hard to imagine. 4

       Third, the history of independent agencies stretches well beyond the ICC, FTC, and

Humphrey’s Executor: Congresses and Presidents have woven these entities into the fabric of our

government over the last 150 years. The U.S. Code identifies nearly two-dozen “independent

regulatory agenc[ies],” 44 U.S.C. § 3502, and many of these entities—and others tasked with

sensitive regulatory responsibilities—are led by members, commissioners, or other officials

enjoying the same or similar removal protection as the FTC Act provides Plaintiffs. See, e.g., 12

U.S.C. § 242 (Federal Reserve Board); 42 U.S.C. § 7171(b)(1) (Federal Energy Regulatory

Commission); 5 U.S.C. § 1202(d) (Merit Systems Protection Board); 29 U.S.C. § 153(a)

(National Labor Relations Board); 49 U.S.C. § 1111(c) (National Transportation Safety Board);

42 U.S.C. § 5841(e) (Nuclear Regulatory Commission); 15 U.S.C. § 2053(a) (Consumer Product

Safety Commission); 42 U.S.C. § 902(a)(3) (Social Security Administration); 42 U.S.C. §


4 While a full review is beyond the scope of this submission, the last several years have spawned

a renewed and robust literature regarding intertwined histories of agency independence and
removal protections. For just a few examples, see Jed Handelsman Shugerman, Venality: A
Strangely Practical History of Unremovable Offices and Limited Executive Power, 100 Notre
Dame L. Rev. 213 (2024); Jonathan Gienapp, Removal and the Changing Debate over Executive
Power at the Founding, 63 Am. J. Legal Hist. 229 (2023); and Jane Manners & Lev Menand,
The Three Permissions: Presidential Removal and the Statutory Limits of Agency Independence,
121 Colum. L. Rev. 1 (2021). To the extent the Supreme Court ever decides to revisit
Humphrey’s Executor and consider anew the validity of 15 U.S.C. § 41, these (and other)
sources provide further independent confirmation that granting certain officials the statutory
protection of a fixed term while permitting the President to remove them, if necessary, for
“inefficiency,” “neglect of duty,” or “malfeasance,” has a deep and well-established historical
pedigree and is in harmony with the President’s own constitutional duties.


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1975(e) (U.S. Commission on Civil Rights); 28 U.S.C. § 991(a) (U.S. Sentencing Commission);

42 U.S.C. § 7412(r)(6)(B) (Chemical Safety and Hazard Investigation Board); 30 U.S.C. §

823(b)(1) (Federal Mine Safety and Health Review Commission); 10 U.S.C. §§ 8083(c),

8084(c), 9038(c), 10506(D), 14 U.S.C. § 309(c)(1) (Marine, Navy, Air Force, Coast Guard,

National Guard and Air Force Reserves); 39 U.S.C. § 202(a)(1) (U.S. Postal Service). Likewise,

the need for multi-member financial regulators to have some form of protection from pure at-will

removal is so clear and well-established that courts have implied these protections even in the

absence of express statutory requirements. See Free Enter. Fund, 561 U.S. at 496 (2010)

(discussing SEC).

       While not all of the entities noted above are “traditional independent agenc[ies] headed

by a multimember board or commission,” Seila Law, 591 U.S. at 207, the extent of this list

underscores the burden Defendants bear in justifying their attack on the basic notion of agency

independence. “[L]ong settled and established practice is a consideration of great weight in a

proper interpretation of constitutional provisions regulating the relationship between Congress

and the President.” Noel Canning v. NLRB, 573 U.S. 513, 524 (2014); see id. at 572 (Scalia, J.,

concurring) (“governmental . . . practice should guide our interpretation of an ambiguous

constitutional provision”). It is difficult to conceive of a practice more well-established than the

“Congress and the President” choosing to adopt the structure of a “relatively independent agency

as a means of addressing specialized disputes with specialized expertise and providing at least a

temporal degree of some independence for the agency from short-term political pressures that

may not always have been welcome, even by the President.” Leachco, 103 F.4th at760. This

“practical construction” of the commands of the Constitution cannot be lightly disregarded, as

Defendants seek to do here—rather, it “is entitled to the greatest weight.” McPherson v. Blacker,



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146 U.S. 1, 27 (1892).5

       D.      This Court’s Obligation to Apply Humphrey’s Executor Remains

       Finally, even if the reasoning the President offered held any appeal—and it does not—it

could not change the result in this Court. As a motions panel of the D.C. Circuit noted last year,

to the extent the President “claims that the Federal Trade Commission Act likely violates Article

II by limiting [his] power to remove . . . Commissioners,” the fact remains that “[t]he Supreme

Court already answered this question adversely to [him].” Meta Platforms, Inc. v. FTC, No. 24-

5054, 2024 WL 1549732, at *2 (D.C. Cir. Mar. 29, 2024) (citing Humphrey’s Executor, 295 U.S.

at 629–32); see also supra Part II. And, as the Tenth Circuit noted just last month, after being

informed by the current Administration that it no longer endorsed the constitutionality of

removal protections, “[e]ven if the government had developed an argument to support its new

position, we are bound by our precedent to affirm the constitutionality of the Commission’s

structure.” Magnetsafety.org v. CPSC, 129 F.4th 1253, 1266 n.10 (10th Cir. 2025).

        Thus, this Court’s duty is clear: “‘If a precedent of [the Supreme Court] has direct

application in a case’ . . . a lower court ‘should follow the case which directly controls, leaving to

[the Supreme] Court the prerogative of overruling its own decisions.’” Mallory v. Norfolk S. Ry.


5 Indeed, despite the position taken by the present Administration, it is critical to recall that “the

statutory removal protections with which” the President now “takes issue here were accepted and
signed into law by a President, the head of the Executive Branch. They were not restrictions
imposed upon an unwilling Executive Branch. Rather, the Executive Branch affirmatively chose
to accept some insulation for its agencies and commissions from short term political control to
ensure the good and faithful execution of its executive duties.” Leachco, 103 F.4th at 760 n.11.
That a nearly unbroken line of Presidents has made a similar choice, running back centuries, is
significant in this context. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 610–611
(1952) (Frankfurter, J., concurring) (“[S]ystematic, unbroken, executive practice, long pursued to
the knowledge of the Congress and never before questioned, engaged in by Presidents who have
also sworn to uphold the Constitution, making as it were such exercise of power part of the
structure of our government, may be treated as a gloss on ‘executive Power’ vested in the
President by § 1 of Art. II.”).


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Co., 600 U.S. 122, 136 (2023) (quoting Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490

U.S. 477, 484 (1989)). “This is true even if the lower court thinks the precedent is in tension

with ‘some other line of decisions.’” Id. (quoting Rodriguez, 490 U.S. at 484). In short, “[t]his

Court is charged with following case law that directly controls a particular issue,” Nat’l Sec.

Archive v. CIA, 104 F.4th 267, 272 n.1 (D.C. Cir. 2024), and thus no exegesis of Seila Law or

any other decision the Defendants offer here could permit this Court to ignore Humphrey’s

Executor. See Harris, 2025 WL 1021435, at *1.

       The Department of Justice publicly declared, even before the President attempted to

terminate Plaintiffs, that it “intends to urge the Supreme Court to overrule” Humphrey’s

Executor.6 If it does, Plaintiffs will meet it there to urge the contrary result. But whatever could

happen in the Supreme Court, the fact remains that any request to disregard Humphrey’s

Executor can be directed only to that body, not to this Court.7

IV.    Plaintiffs Are Entitled to Declaratory Judgment and a Permanent Injunction

       For the reasons stated above, Plaintiffs are entitled to summary judgment on each of their

causes of action. As a remedy, for the reasons stated below, Plaintiffs are entitled to declaratory



6 Letter from Sarah M. Harris, Acting Solicitor General of the United States, to Hon. Richard J.

Durbin (Feb. 12, 2025), available at
https://fingfx.thomsonreuters.com/gfx/legaldocs/movawxboava/2025.02.12-OUT-Durbin-
530D.pdf.
7
  To the extent this case does progress further and the holding of Humphrey’s Executor is ever
deemed insufficient to confirm the constitutionality of the FTC Act’s removal protections,
Plaintiffs expressly reserve the right to raise the additional arguments that support the
constitutional validity of this statute, including, but not limited to, further analysis of centuries-
long history of removal protections, a further consideration of Congress’s powers under Article I,
and an interpretation of the “‘inefficiency, neglect of duty, or malfeasance in office’” standard
that is in harmony with any reasonable understanding of the President’s duties under the Take
Care and Vesting Clauses. Likewise, were any court to identify a constitutional flaw in the
FTC’s structure, complex remedial questions would arise that would also require further
consideration.


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and injunctive relief.

       A.      The Court Should Declare that Plaintiffs’ Purported Termination Was
               Unlawful

       Subject to certain exceptions not applicable here, “any court of the United States . . . may

declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). In assessing the

propriety of granting a declaratory judgment, courts consider a non-exclusive list of factors,

focusing on “whether the judgment will serve a useful purpose in clarifying the legal relations at

issue” or, similarly, “whether the judgment will terminate and afford relief from the uncertainty,

insecurity, and controversy giving rise to the proceeding.” Printing Packaging & Prod. Workers

Union of N. Am. v. Int’l Bhd. of Teamsters, No. CV 23-1872, 2024 WL 3835353, at *9 (D.D.C.

Aug. 15, 2024); see also New York v. Biden, 636 F. Supp. 3d 1, 31 (D.D.C. 2022) (same). A

declaration that Plaintiffs’ purported termination was unlawful, and that any termination must

comply with the FTC Act, would serve these ends here.

       Until recently, there was no confusion that FTC Commissioners could not be terminated

without cause: a statute says so, see 15 U.S.C. § 41, the Supreme Court said so, see Humphrey’s

Executor, 295 U.S. 602, and it has refused every invitation to say otherwise, see supra Part II.

Thus, as recently as 2023, the current FTC Chair, Defendant Ferguson, appeared to have a settled

view on this matter: “The Supreme Court has held that the FTC’s removal provisions are

consistent with Article II of the Constitution. . . . The Supreme Court’s ‘decisions remain binding

precedent until [it] see[s] fit to reconsider them, regardless of whether subsequent cases have

raised doubts about their continuing validity.’” (SMF ¶ 13 (emphasis in original).) Plaintiffs

agree. See supra Part II.




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       Yet the President has now asserted that he can do precisely what the U.S. Code and the

Supreme Court says he cannot—fire Commissioners of the FTC whenever he chooses (see

Slaughter Decl. Ex. A)—and this action has apparently unsettled Defendant Ferguson’s resolve

to follow the law. Despite his prior declaration, Defendant Ferguson has complied with the

President’s new position (SMF ¶¶ 18–21), and the remaining Defendants likewise have complied

and implemented the President’s illegal action, preventing Plaintiffs from performing their duties

as Commissioners of the FTC by, e.g., barring their access to their files and emails; putting their

staff on leave (or reassigning them); and notifying the public that Plaintiffs are now purportedly

“former Commissioners.” (See SMF ¶¶ 18, 19.) As a result, although Plaintiffs, like

Commissioner Humphrey, have “never acquiesced in this action,” Humphrey’s Executor, 295

U.S. at 619, they are most certainly in a state of uncertainty and insecurity about their status as

FTC Commissioners (see SMF ¶¶ 18–20).

       Plaintiffs’ concern and uncertainty regarding their status—and, as a result, the ability of

the FTC and its Commissioners to function effectively—is no doubt shared by the businesses

regulated, and the citizens served, by the FTC. To take one recent example, Plaintiffs were the

only active Commissioners eligible to adjudicate the FTC’s case reviewing the practices of

PBMs, as both Chairman Ferguson and Commissioner Holyoak were conflicted out of the case.

After Plaintiffs were purportedly removed, the FTC initially announced that the case would be

stayed. See In the Matter of Caremark Rx, LLC, et al., Federal Trade Commission, 221 0114,

F.T.C., 9437 (Apr. 1, 2025) (stay order). Defendant Ferguson has now attempted to resolve this

issue by un-recusing himself. See Statement of Chairman Andrew N. Ferguson, Federal Trade

Commission (Apr. 3, 2025) available at https://www.ftc.gov/system/files/ftc_gov/pdf/ferguson-




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pbm-statement.pdf. Whether or not that action was appropriate, there is certainly confusion

regarding which Commissioners are or should be handling this important matter.

       Likewise, to take another example, given the President’s assertion that FTC

Commissioners are subject to his direct control on all substantive issues—both de facto, through

the threat of termination, and purportedly de jure, by Executive Order8—public speculation has

been rampant that the President will direct Defendant Ferguson to drop the FTC’s antitrust action

against Meta.9 When asked about this possibility, Defendant Ferguson sowed further confusion,

asserting, on the one hand, that “the President [is the] head of the executive branch, and I think

it’s important for me to obey lawful orders,” while adding, on the other, “I think that the

President recognizes that we’ve got to enforce the laws, so I’d be very surprised if anything like

that ever happened.”10 Even if the Meta action proceeds, as long as the President’s implicit and

explicit assertion that the FTC can exercise no independent judgment whatsoever persists, every

action and every adjudication undertaken by the Commission will be subject to the same

uncertainty.




8 See Exec. Order No. 14,215, 90 Fed. Reg. 10447 (2025) (Ensuring Accountability for All

Agencies) (purporting to require all “independent agencies” to submit “significant regulatory
actions” for the President’s approval and forbidding all “employee[s] of the executive branch
acting in their official capacity” from “advanc[ing] an interpretation of the law as the position of
the United States that contravenes the President or the Attorney General’s opinion on a matter of
law, including but not limited to the issuance of regulations, guidance, and positions advanced in
litigation, unless authorized to do so by the President or in writing by the Attorney General”).
9 Mike Isaac & David McCabe, Mark Zuckerberg Lobbies Trump to Settle Antitrust Suit Against

Meta, N.Y. Times, Apr. 2, 2025, available at
https://www.nytimes.com/2025/04/02/technology/mark-zuckerberg-trump-meta-antitrust.html.
10
   Lauren Feiner, FTC chair says he’d ‘obey lawful orders’ if Trump asked to drop an antitrust
case like Meta’s, The Verge, Apr. 2, 2025, available at
https://www.theverge.com/news/642068/ftc-chair-andrew-ferguson-trump-drop-meta-lawsuit-
hypothetical.


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       In short, although the FTC Act and the Supreme Court have spoken clearly, Defendants

appear to believe that they are not required to comply with the law. This controversy and

uncertainty can and should be resolved by this Court exercising its “duty . . . to say what the law

is.” Marbury, 5 U.S. at 177. Indeed, the Supreme Court has “long held” that federal courts

“ha[ve] the authority to determine whether [the President] has acted within the law.” Clinton v.

Jones, 520 U.S. 681, 703 (1997). This Court should declare the President’s attempted firing

unlawful and that FTC Commissioners can be removed only for “inefficiency, neglect of duty, or

malfeasance.” See Clinton v. City of New York, 524 U.S. 417, 421 (1998) (affirming declaratory

judgment that President’s actions under Line Item Veto Act were invalid). Courts in this District

asked to review this President’s recent efforts to terminate agency leaders in violation of

governing law have not hesitated to issue such declarations. See Grundmann v. Trump, No. CV

25-425 (SLS), 2025 WL 782665 (D.D.C. Mar. 12, 2025); Wilcox v. Trump, No. CV 25-334

(BAH), 2025 WL 720914, at *16–17 (D.D.C. Mar. 6, 2025); Harris v. Bessent, No. CV 25-412

(RC), 2025 WL 679303, at *13 (D.D.C. Mar. 4, 2025).

       B.      The Court Should Enjoin the Non-Presidential Defendants from Interfering
               With Plaintiffs’ Continued Service as FTC Commissioners

       A plaintiff seeking a permanent injunction must demonstrate that: (1) he or she has

suffered an irreparable injury; (2) remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) considering the balance of hardships between the

plaintiff and defendant, a remedy in equity is warranted; and (4) the public interest would not be

disserved by a permanent injunction. See Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139,

156–57 (2010). The first two factors “are often considered together,” Grundmann, 2025 WL

782665, at *16, and the latter two merge when the defendant is the government, see Singh v.

Berger, 56 F.4th 88, 107 (D.C. Cir. 2023). All four factors decisively support issuing the


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requested permanent injunction against Defendants Ferguson, Holyoak, and Robbins (the “Non-

Presidential Defendants”).

              i.    Plaintiffs have suffered irreparable harm for which no legal remedy is
                    available

        Where, as here, Plaintiffs have a “statutory right” to serve as officers on a multi-member

commission created by Congress, “the deprivation” of that right is an “irreparable” injury. See

Berry v. Reagan, No. 83-3182, 1983 WL 538, at *5 (D.D.C. Nov. 14, 1983). That injury has

“obvious[],” see id., and “irrevocably disruptive” effects on Plaintiffs, who cannot presently

perform the official duties that they are statutorily directed to perform, see Mackie v. Bush, 809

F. Supp. 144, 146 (D.D.C. 1993), vacated as moot sub nom. Mackie v. Clinton, 10 F.3d 13 (D.C.

Cir. 1993). Improper deprivation of Plaintiffs’ “ability to carry out their congressional mandate”

clearly “cannot be repaired in the absence of an injunction”—for example, it “cannot be

retroactively cured by monetary damages.” Wilcox v. Trump, No. CV 25-334 (BAH), 2025 WL

720914, at *15 (D.D.C. Mar. 6, 2025). Indeed, monetary damages would not give Plaintiffs full

relief because the injury is more than just the loss of a salary; it is the loss of a “statutory right to

function” in a position directly related to a federal agency’s “ability to fulfill its mandate.”

Berry, 1983 WL 538, at *5.

        Moreover, any argument that mere monetary damages are sufficient here would make a

mockery of the FTC Act, Humphrey’s Executor, and the protection provided by the dozens of

statutes that follow their example, see supra Section III.D. If illegally terminated officials are

entitled solely to monetary relief, then the President can fire all of them with impunity and

simply demand that the taxpayers pick up the bill. Such a scheme is obviously not “adequate”

under the circumstances and would render all of these laws a nullity. See Marbury, 5 U.S. at 163

(“The government of the United States has been emphatically termed a government of laws, and


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not of men. It will certainly cease to deserve this high appellation, if the laws furnish no remedy

for the violation of a vested legal right.”).

        Accordingly, the first two factors are satisfied and support Plaintiffs’ request for

injunctive relief.

              ii.    The balance of hardships and public interest favor granting Plaintiffs
                     injunctive relief

        A balancing of the equities also supports issuance of the requested injunction. Perhaps

most critically, “there is a substantial public interest ‘in having governmental agencies abide by

the federal laws that govern their existence and operations.’” League of Women Voters v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th

Cir. 1994)). That commonsense principle applies to laws providing for-cause removal

protections, see, e.g., Harris, 2025 WL 679303, at *14, which effectuate important public

policies, see Humphrey’s Executor, 295 U.S. at 624–26, 629.

        An injunction would also put an end to the “obviously disruptive effect” of Defendants’

ongoing interference with the day-to-day activities of the FTC. See Berry, 1983 WL 538, at *5.

Defendants’ efforts to bar Plaintiffs from doing their jobs and their direct interference with

agency decision making are already causing public confusion and uncertainty about the work of

the FTC. See supra Section IV.A.

        An injunction effectuating Congress’s for-cause removal protection would also respect

the intentions of the numerous Congresses and Presidents that have shaped the FTC over the last

century. See Harris v. Bessent, No. CV 25-412 (RC), 2025 WL 521027, at *7 (D.D.C. Feb. 18,

2025) (“Harris was appointed to and confirmed as a member of an agency charged with acting

with a degree of independence from the President. By vindicating their rights to occupy those

offices, these plaintiffs act as much in their own interests as those of their agencies.”).


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Maintaining “a less partisan” commission, “insulated from at-will removal, is less likely to

whipsaw the public by taking completely disparate approaches every four years, which has

concomitant public benefits in greater stability and predictability in administration of the law.”

Id. at *17 n.23. This is precisely what Congress had in mind when it—along with President

Wilson—granted FTC Commissioners removal protection in the first place: “We want traditions;

we want a fixed policy; we want trained experts; we want precedents; we want a body of

administrative law built up,” and these goals can be achieved only by a “nonpartisan” group that

can exercise its own “powers of judgment and powers of discretion,” S. Rep. No. 63-597, at 22

(statement of Sen. Newlands).

       By contrast, the government “cannot suffer harm from an injunction that merely ends an

unlawful practice or reads a statute as required.” R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191

(D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)). The

requested injunction would do just that: it would end the Non-Presidential Defendants’ efforts to

implement Plaintiffs’ unlawful purported terminations, and it would read the FTC Act to mean

what it says—that FTC Commissioners “shall be appointed for terms of seven years” and “may

be removed by the President for inefficiency, neglect of duty, or malfeasance in office.” See 15

U.S.C. § 41; Humphrey’s Executor, 295 U.S. at 623 (“The words of the act are definite and

unambiguous.”).

            iii.   Injunctive relief against subordinate officials is the appropriate remedy

       Finally, in recent actions concerning the improper termination of agency leaders, the

President and his co-defendants have taken the position that (a) injunctive relief cannot be

entered because it would run against the President, and (b) any injunction requested to combat an

illegal termination improperly seeks “reinstatement.” Courts in this District have uniformly

rejected these arguments. See Wilcox v. Trump, No. CV 25-334 (BAH), 2025 WL 720914, at

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*16–17 (D.D.C. Mar. 6, 2025); Harris v. Bessent, No. CV 25-412 (RC), 2025 WL 679303, at

*13 (D.D.C. Mar. 4, 2025). This Court should do the same.

       First, Plaintiffs do not seek injunctive relief against the President. Rather, the proposed

order seeks an injunction only against the Non-Presidential Defendants: Ferguson, Holyoak, and

Robbins. (See Dkt. 1, Compl. at 20.) The Supreme Court has repeatedly affirmed the ability of

courts to enjoin subordinate officials carrying out unlawful orders. See, e.g., Youngstown Sheet

& Tube Co. v. Sawyer, 343 U.S. 579, 583, 589 (1952) (holding presidential act unconstitutional

and affirming district court order restraining Secretary of Commerce); see also Franklin v.

Massachusetts, 505 U.S. 788, 827 (1992) (Scalia, J., concurring in part and concurring in the

judgment) (“[r]eview of the legality of Presidential action can ordinarily be obtained in a suit

seeking to enjoin the officers who attempt to enforce the President’s directive”). Under these

precedents, this Circuit has held that injunctive relief is available against subordinate federal

officials where plaintiffs are challenging their removal from federal office. See Severino v.

Biden, 71 F.4th 1038, 1042–43 (D.C. Cir. 2023); Swan v. Clinton, 100 F.3d 973, 976–81 (D.C.

Cir. 1996).

       Second, “reinstatement” is not the appropriate label for what Plaintiffs seek, as the

President’s attempt to remove them as Commissioners of the FTC is, and has always been, a

legal nullity. Whatever term is used, however, the Supreme Court has repeatedly held that

injunctive relief is the appropriate remedy when an individual has been wrongly deprived of her

federal position. In Sampson v. Murray, 415 U.S. 61, 71–72, 92 n.68 (1974), the Court

explained that a federal court may “review the claim of a discharged governmental employee”

and employ its “injunctive power” to remedy the injury. Similarly, in Vitarelli v. Seaton, a

federal employee sought “a declaration that his dismissal had been illegal and ineffective and an



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injunction requiring his reinstatement,” and the Court held that he was “entitled to the

reinstatement which he seeks.” 359 U.S. 535, 537, 546 (1959); see also Service v. Dulles, 354

U.S. 363, 370, 389 (1957) (holding termination unlawful; federal employee obtained injunctive

and declaratory relief on remand).

       In accordance with these principles, lower courts have long recognized their power to

issue injunctions to remedy illegal removals, even when they flow from orders by the President.

See Severino, 71 F.4th at 1042–43; Swan, 100 F.3d at 976–81; see also Miller v. Clinton, 687

F.3d 1332, 1360 n.7 (D.C. Cir. 2012) (Kavanaugh, J., dissenting) (“Courts have long held that

citizens facing unconstitutional conduct can seek equitable relief—for an employee facing

unconstitutional discrimination, equitable relief could include an injunction prior to termination

or reinstatement subsequent to termination.”); Mackie, 809 F. Supp. at 148 (enjoining

termination of Postal Service Board of Governors members); Berry, 1983 WL 538, at *6

(enjoining “prevent[ion] or interfer[ence] with plaintiffs[’] service as members of the U.S.

Commission on Civil Rights”); Paroczay v. Hodges, 219 F. Supp. 89, 95 (D.D.C. 1963)

(ordering that Department of Commerce official was “entitled to be reinstated to his position”

and retaining jurisdiction to issue “a mandatory injunction” to enforce that judgment).

       In sum, Plaintiffs satisfy the requirements for the issuance of the permanent injunction

they request, and there is no barrier to this Court’s entry of that injunction.

       C.      In the Alternative, the Court Should Issue a Writ of Mandamus Requiring
               Compliance with Non-Discretionary Duties Under the FTC Act

       This Court can and should grant Plaintiffs the injunctive relief necessary for them to

complete their statutorily protected terms as Commissioners of the FTC. See supra Part

IV.B. However, if this Court were to conclude that such relief is not available here, in the

alternative, this Court should issue a writ of mandamus prohibiting their removal from office.


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(See Compl. ¶¶ 52–54.)

        A district court has “original jurisdiction of any action in the nature of mandamus” where

“(1) the plaintiff has a clear right to relief; (2) the defendant has a clear duty to act; and (3) there

is no other adequate remedy available to [the] plaintiff.” In re Nat’l Nurses United, 47 F.4th

746, 752 n.4 (D.C. Cir. 2022) (quoting Muthana v. Pompeo, 985 F.3d 893, 910 (D.C. Cir.

2021)). A court “can analyze the clear right to relief and clear duty to act requirements for

mandamus ‘concurrently,’” Illinois v. Ferriero, 60 F.4th 704, 715 (D.C. Cir. 2023) (quoting

Lovitky v. Trump, 949 F.3d 753, 760 (D.C. Cir. 2020)), and those requirements are met where

“‘[t]he law . . . not only authorize[s] the demanded action, but require[s] it; the duty must be

clear and indisputable,’” Ferriero, 60 F.4th at 715 (quoting United States ex rel. McLennan v.

Wilbur, 283 U.S. 414, 420 (1931)). Mandamus may be used “to preserve the status quo” by

telling governmental defendants “what . . . not to do.” In re Nat'l Nurses United, 47 F.4th at 755

n.5.

        Assuming arguendo that injunctive relief against the Non-Presidential Defendants is not

available, relief by way of mandamus would be proper. For the reasons outlined above, federal

law gives Plaintiffs a “clear and indisputable” right to serve as FTC Commissioners until their

terms expire or they are lawfully removed for cause. See supra Part II. If that is so, Defendants

have a clear and indisputable duty to treat Plaintiffs as FTC Commissioners—and not to interfere

with their tenure in office absent removal for inefficiency, neglect of duty, or malfeasance in

office. See Swan, 100 F.3d at 977 (explaining that “a duty to comply with [statutory] removal

restrictions . . . if it exists, is ministerial and not discretionary,” because the executive branch “is

bound to abide by the requirements of duly enacted and otherwise constitutional statutes”); see

also Mackie, 809 F. Supp. at 147 n.1 (D.D.C.) (“It seems likely . . . that an injunction could issue



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to bar unlawful removal and that the President or an appropriate subordinate could be required

by mandamus to reinstate an unlawfully removed officer.”) (quoting Laurence H. Tribe,

American Constitutional Law § 4–10 at 250 n. 20 (2d ed. 1988)).

        Thus, in the event this Court were to determine that Plaintiffs did not have a separate,

“adequate remedy” in the form of an injunction, In re Nat’l Nurses United, 47 F.4th at 752 n.4,

the Court should “vigilantly enforce federal law” and “award[] necessary relief” through a writ

of mandamus as an alternative remedy, DL v. D.C., 860 F.3d 713, 726 (D.C. Cir. 2017).

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion on an expedited

basis, enter declaratory relief for Plaintiffs, and enter an order permanently enjoining the Non-

Presidential Defendants from interfering with Plaintiffs’ continued service as FTC

Commissioners (or, in the alternative, issue a writ of mandamus).

Dated: April 11, 2025                      Respectfully submitted,

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